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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  NEMAN BROTHERS AND ASSOC., INC.                                    2:20−cv−11181−CAS−JPR
                                                   Plaintiff(s),

           v.
  INTERFOCUS, INC., et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         4/8/2021
  Document Number(s):                 22
  Title of Document(s):              Proof of Service of Summons and Complaint
  ERROR(S) WITH DOCUMENT:

  SERVICE UNDER FRCP 5(b)(2)(D) Executed was not made under this statute as the Court did not serve the
  Summons on First Amended Complaint




  Other:

  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                        Clerk, U.S. District Court

  Dated: April 9, 2021                                  By: /s/ Sharon Hall−Brown 213−894−3651
                                                           Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge

      Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.


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